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                                                                  The Honorable Barbara J. Rothstein
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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     PARLER LLC,
 9
                               Plaintiff,                 No. 2:21-cv-00031-BJR
10
           v.                                             JOINT STIPULATION FOR
11                                                        AMENDMENT AND RESPONSE
     AMAZON WEB SERVICES, INC.,                           SCHEDULE
12
                               Defendant.
13

14         Pursuant to the Court’s Standing Order (Dkt. 35), the parties submit the following
15 stipulation:

16         1.       The deadline for Defendant Amazon Web Services, Inc. (“AWS”) to respond to
17 Plaintiff Parler LLC’s Verified Complaint is February 2, 2021.

18         2.       Rule 15(a)(1) permits Parler to amend its Verified Complaint, and Parler intends
19 to do so.

20         3.       The parties agree as follows:
21                  a.     AWS need not respond to Parler’s Verified Complaint;
22                  b.     Parler will file an Amended Complaint no later than February 16, 2021;
23                  c.     AWS’s deadline to respond to the Amended Complaint will be March 22,
24         2021.
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     STIPULATION AND PROPOSED ORER                                            Davis Wright Tremaine LLP
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     (No. 2:21-cv-00031-BJR) - 1                                                 920 Fifth Avenue, Suite 3300
                                                                                   Seattle, WA 98104-1610
                                                                            206.622.3150 main · 206.757.7700 fax
             Case 2:21-cv-00031-BJR Document 38 Filed 01/28/21 Page 2 of 3



           DATED this 28th day of January, 2021.
 1

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     STIPULATION AND PROPOSED ORER                                        Davis Wright Tremaine LLP
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               Case 2:21-cv-00031-BJR Document 38 Filed 01/28/21 Page 3 of 3




 1                                           ORDER

 2          Pursuant to stipulation, IT IS SO ORDERED.

 3          DATED this 28th day of January, 2021.

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 6                                                   A
                                                     Barbara Jacobs Rothstein
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                                                     U.S. District Court Judge
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     STIPULATION AND ORDER                                               Davis Wright Tremaine LLP
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